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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

WELLS FARGO BANK, N.A.                                          CIVIL ACTION No.: 4:19-cv-616

VERSUS
                                                                DISTRICT JUDGE
TINA S. ALEXANDER                                               HON. KEITH P. ELLISON


                                    ANSWER TO COMPLAINT

        Defendant TINA S. ALEXANDER (“ALEXANDER”) by and through her undersigned

counsel, files this answer to the complaint of plaintiff, WELLS FARGO BANK, N.A. (“WELLS

FARGO”):

                                                    1.

        The allegations in Paragraph 1 of the Complaint do not pertain to Tina Alexander and require

no response. To the extent a response is required, the allegations are denied.

                                                    2.

        The allegations in Paragraph 2 of the Complaint do not pertain to Tina Alexander and require

no response. To the extent a response is required, the allegations are denied.

                                                    3.

        The allegations in Paragraph 3 of the Complaint are admitted.

                                                    4.

        Defendant does not contest venue or jurisdiction in this Court.

                                                    5.

        Defendant does not contest venue or jurisdiction in this Court.

                                                    6.

        Defendant does not contest venue or jurisdiction in this Court.

                                                    7.


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       The allegations in Paragraph 7 of the Complaint are denied, except insofar as Tina Alexander

admits she executed and delivered to World Savings Bank a note in the amount of $296,000.00 with

interest, doc 1-1, and the Texas Equity Deed of Trust within doc. 1-2.

                                                   8.

       The allegations in Paragraph 8 of the Complaint are admitted.

                                                   9.

       The allegations in Paragraph 9 of the Complaint are denied.

                                                   10.

       The allegations in Paragraph 10 of the Complaint are denied.

                                                   11.

       The allegations in Paragraph 11 of the Complaint are denied.

                                                   12.

       The allegations in Paragraph 12 of the Complaint are denied.

                                                   13.

       The allegations in Paragraph 13 of the Complaint are denied.

                                                   14.

       The allegations in Paragraph 14 of the Complaint are conclusions of law and require no

response.

                                                   15.

       The allegations in Paragraph 15 of the Complaint are denied except insofar as defendant was

involuntarily placed in default because Plaintiff would not accept her payments and insofar as she

admits she is not a member of the National Guard or United States Military.

                                                   16.

       The allegations in Paragraph 16 of the Complaint are denied.

                                                   17.

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          The allegations in Paragraph 17 of the Complaint are denied.

                                                     18.

          The allegations in Paragraph 18 of the Complaint are conclusions of law to which no

response is required.

                                                     19.

          The allegations in Paragraph 19 of the Complaint are denied.

                                                     20.

          The allegations in Paragraph 20 of the Complaint require no response.

                                                     21.

          The allegations in Paragraph 21 of the Complaint require no response.

                                                     22.

          The allegations in Paragraph 22 of the Complaint are denied.

                                                     23.

          The allegations in Paragraph 23 of the Complaint are denied.

                                                     24.

          The allegations in Paragraph 24 of the Complaint are denied.

                                                     25.

          The allegations in the Prayer, and in any unnumbered or mis-numbered paragraph, are

denied.

                                         Affirmative Defenses

                                                     1.

          Wells Fargo has failed to mitigate its damages.




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                                                     2.

        Wells Fargo has failed to abide by the terms of the home equity loan by refusing to take

payments from Tina Alexander and therefore has waived its right to collect, and is estopped from

collecting, interest, fees, or expenses, or any amount beyond the unpaid principal of the loan.

                                                     3.

        Wells Fargo has failed to abide by court orders, requiring Wells Fargo to accept payment

from Tina Alexander. Repeatedly, Tina Alexander made efforts to pay Wells Fargo, but Wells Fargo

would not accept her money, and therefore Wells Fargo has waived its right to collect, and is

estopped from collecting, interest, fees, or expenses or any amount beyond the unpaid principal of

the loan.

                                                     4.

        Tina Alexander reserves the right to amend this pleading.

                                                     5.

        Tina Alexander prays for and is entitled to a trial by jury.

                                                 Respectfully submitted:

                                                 BOHMAN | MORSE, LLC


                                                 /s/Harry Morse
                                                 HARRY E. MORSE (Bar #31515)
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                                                 New Orleans, Louisiana 70130
                                                 Telephone: (504) 930-4022
                                                 Facsimile: (888) 217-2744
                                                 Email: harry@bohmanmorse.com

                                                 ATTORNEY FOR TINA S. ALEXANDER




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 3, 2019 the above and foregoing Answer was served via
electronic mail to all known counsel, including counsel for the Defense, in accordance with the Federal
Rules of Civil Procedure and the Local Rules.


                                          /s/Harry Morse
                                        HARRY E. MORSE




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